Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 1 of 14




                      EXHIBIT I
                                                             Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 2 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                            Description                             Beg Bates                 End Bates    Dep. Ex. #                                         Plaintiff's Objections
                                                          B. Elliott and N. Grunberg, Adolescent Tobacco Use,                                                                 Hearsay; Foundation (learned treatise)
       1                                    1/1/2005      Trends in Smoking and Health Research, 145‐184
                                                          (2005)
       2       JLI Document                 6/1/2005      Presentation re A. Bowen and J. Monsees Thesis      JLI01419088               JLI01419125                           No objection
                                                          2009 Family Smoking Prevention and Tobacco Control
       3       Government                  6/22/2009                                                                                                                          No objection
                                                          Act
                                                          Smoking, Smoking Articles, and the Related Physics                                                                  Hearsay
       4       Deposition Exhibit          4/21/2013                                                          PERFETTI_1764             PERFETTI_1786         Perfetti ‐ 86
                                                          and Chemistry
       5       Deposition Exhibit          4/22/2013      A. Bowen Email to T. Perfetti re Reports for Ploom        PERFETTI_1737       PERFETTI_1737         Perfetti ‐ 87   No objection
                                                          Provisional Patent Application No. 61‐620128,                                                                       Hearsay; Foundation
       6                                    5/6/2013      Nicotine Salt Formulations for Aerosol Devices and
                                                          Methods Thereof
       7       JLI Document                6/13/2013      Presentation re Branch                                    JLI01062906         JLI01062944                           Objection: 802, 805
       8       JLI Document                6/17/2013      A. Bowen Email to B. Ingebrethsen re Chuck                JLI20821010         JLI20821010                           No objection
                                                          Xing, C., Human Comparison of Buzz Feeling and
               JLI Document;
       9                                  12/30/2013      Oral/Throat Harshness from Inhaling Development           INREJUUL_00002912   INREJUUL_00002918      Xing 8006      No objection
               Deposition Exhibit
                                                          Juul Formulations
                                                                                                                                                                              Hearsay; Double hearsay
                                                          Proposed Rule re Deeming Tobacco Products to be
                                                                                                                                                                              MIL1A1 (JUUL is a "legal" product or authorized by FDA)
                                                          Subject to the Federal Food, Drug, and Cosmetic Act,
                                                                                                                                                                              MIL1A5 (JLI complied with all "regs" pre‐deeming)
                                                          as Amended by the Family Smoking Prevention and
      10       Government                  4/25/2014
                                                          Tobacco Control Act; Regulations on the Sale and
                                                          Distribution of Tobacco Products and Required
                                                          Warning Statements for Tobacco Products
               JLI Document;                              A. Atkins Email to A. Bowen and J. Monsees re Market
      11                                   5/19/2014                                                           JLI04628337              JLI0462853             Atkins ‐ 4     No objection
               Deposition Exhibit                         e‐cig puff capacities with Attachment
                                                          Presentation re Market Product Comparison pre‐
      12       JLI Document                 6/1/2014                                                           JLI04535583              JLI04535599                           Objection: 802, 805; potentially 701, 702, 403
                                                          Launch (mid‐2014)
               JLI Document;
      13                                    7/2/2014      Memorandum re Ploom Marketing Code                        JLI00368260         JLI00368261            Kania ‐ 69     No objection
               Deposition Exhibit
      14       JLI Document                7/13/2014      Evaluation of Clinical Results with a PBPK Model          JLI07820023         JLI07820026                           Hearsay
               JLI Document;                              S. Christensen email to M. Young et al. re Juul Key                                                                 No objection
      15                                   8/12/2014                                                                JLI04535758         JLI04535759            Atkins ‐ 3
               Deposition Exhibit                         Points
      16       JLI Document                9/29/2014      Presentation re The Opportunity and the Challenge         JLI00169280         JLI00169294                           Objection: 802 805, Hearsay, 403
                                                                                                                                                                              802‐Hearsay;
               JLI Document;
      17                                   10/1/2014      Presentation re JUUL Web Survey Online Research           JLI00364488         JLI00364488           Kania ‐ D‐4     805‐Hearsay within Hearsay;
               Deposition Exhibit
                                                                                                                                                                              403‐confusing, cumulative, wastes time, unduly prejudicial
                                                                                                                                                                              Hearsay; Foundation
                                                          C. Xu Email to G. Cohen re (Formulation
      18       JLI Document                11/6/2014      Development) JUUL HPHC profile guidance ‐                 JLI08053693         JLI08053693
                                                          calculated HPHC LOQ vs published exposure limits
                                                          C. Kania Email to J. Monsees re Focus Group Final
               JLI Document;
      19                                  11/14/2014      Reports, Attaching Presentation re JUUL Web Survey        JLI00364678         JLI00364679                           Objection: 802 and 805 hearsay
               Deposition Exhibit
                                                          Online Research
      20       JLI Document               11/20/2014      C. Kania Email to S. Varner re J1 flavor names            JLI03599851         JLI03599853                           No objection
               JLI Document;                                                                                                                                                  Lay opinion/Improper expert opinion
      21                                  11/26/2014      Spreadsheet re Analyte Analysis                           JLI07820014         JLI07820014             Xing 24
               Deposition Exhibit                                                                                                                                             MIL1C (lay testimony on safety)
                                                          Analysis Report re e‐Cig Aerosol & e‐Liquids, Enthalpy                                                              Hearsay; Lay opinion/Improper expert opinion
      22       JLI Document                12/5/2014                                                             JLI04614039            JLI04614048
                                                          Analytical, Inc.                                                                                                    MIL1C (lay testimony on safety)
                                                                                                                                                                              Hearsay; Lay opinion/Improper expert opinion; 403 (confusing/misleading)
                                                          Arista Laboratories, Test Report re The Determination
      23       JLI Document                12/8/2014                                                             JLI00895658            JLI00895688           Bowen DX7       MIL1C (lay testimony on safety)
                                                          of Selected Analytes in E‐Liquid and E‐Cigarette Vapor
                                                          L. Garvey Email to R. Powers re General Social Media
      24       JLI Document                1/13/2015                                                                JLI00069766         JLI00069768                           No objection
                                                          Do's and Don’t's
               JLI Document;                              C. Kania Email to A. Tigrett et al. re Overview Deck                                                                802‐Hearsay;
      25                                   3/30/2015                                                                INREJUUL_00083020   INREJUUL_00083032      Kania ‐ 24
               Deposition Exhibit                         with Attachment                                                                                                     805‐Hearsay within Hearsay
                                                          Presentation re Clinical Validation of Nicotine Salt E‐                                                             No objection
      26       JLI Document                 4/3/2015                                                                JLI07994742         JLI07994742
                                                          Liquid Platform
                                                          C. Kania Email to R. Mumby re JUUL and the Brand
      27       JLI Document                6/30/2015                                                                JLI00215451         JLI00215452                           No objection
                                                          Message
      28       JLI Document                7/23/2015      Presentation re How to Talk About Pax Labs                JLI05645481         JLI05645481                           Objection: 805 hearsay




                                                                                                                                        1 of 13                                                                                                          4/8/2022
                                                             Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 3 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                            Description                                   Beg Bates             End Bates    Dep. Ex. #                                        Plaintiff's Objections
                                                                                                                                                                               802 ‐ Hearsay
               JLI Document;                              R. Mumby Email to S. Baillie and C. Kania re Few           JLI00214941;         JLI00214942;
      29                                   7/28/2015                                                                                                            Kania ‐ D‐25   805 ‐ Hearsay within Hearsay
               Deposition Exhibit                         Thoughts on JUUL Brand Evolution                           INREJUUL_00059683    INREJUUL_00059684
                                                                                                                                                                               403 – Confusing, cumulative, waste of time, unduly prejudicial
                                                                                                                                                                               802 ‐ Hearsay
               JLI Document;                              C. Kania Email to R. Mumby re New Creative Work                                                                      106 – incomplete (omits attachent, which itself contains hearsay and layered hearsay under
      30                                   9/22/2015                                                                 JLI00214080          JLI00214080           Kania ‐ D‐26
               Deposition Exhibit                         with Attachment                                                                                                      802 and 805)
                                                                                                                                                                               403 – Confusing, cumulative, waste of time, unduly prejudicial
               JLI Document;
      31                                   10/5/2015      Presentation re Juul 2016 Customer Research                JLI01081929          JLI01081929           Kania ‐ D‐27   No objection
               Deposition Exhibit
                                                                                                                                                                               802 ‐ Hearsay
               JLI Document;
      32                                   10/5/2015      Presentation re PAX Labs Board Meeting                     JLI09579510          JLI09579510           Kania ‐ D‐28   805 ‐ Hearsay within Hearsay
               Deposition Exhibit
                                                                                                                                                                               403 – Confusing, cumulative, waste of time, unduly prejudicial
      33       JLI Document               10/18/2015      Drawing J1‐J136 re Wick/Coil ASM Rev. A                    JLI04930018          JLI04930018                          Foundation; 403 (misleading)
      34       JLI Document               12/7/2015       Presentation re Pax Labs Board Meeting                     JLI00660149          JLI00660232                          No objection
                                                          A. Asseily Email to N. Pritzker et al. re yearly spend v
      35                                   12/7/2015                                                                 MDL_AA0000523        MDL_AA0000524                        No objection
                                                          performance
                                                          U.S. Patent No. 9,215,895 B2, Nicotine Salt                                                                          No objection
      36       Deposition Exhibit         12/22/2015      Formulations for Aerosol Devices and Methods                                                           Atkins ‐ 5
                                                          Thereof (Bowen et al.)
                                                                                                                                                                               106 (incomplete); 403 (misleading/incomplete)
                                                          Selected excerpts from E‐Cigarette Use Among Youth
                                                                                                                                                                               Improper composite exhibit—objections to individual exhibits reserved.
                                                          and Young Adults, A Report of the Surgeon General,
      37       Government                   1/1/2016
                                                          U.S. Department of Health and Human Services (2016)
                                                          (p. vii, 3, 12‐13, 33, 36, 154, 185‐86)
                                                                                                                                                                               802 ‐ Hearsay
               JLI Document;                              Email from K. Phillips to C. Morimoto et al re 2016
      38                                    1/6/2016                                                                 JLI00484153          JLI00484153            Kania ‐ 51    805 ‐ Hearsay within Hearsay
               Deposition Exhibit                         PAX Labs Digital Media Briefs
                                                                                                                                                                               403 – Confusing, cumulative, waste of time, unduly prejudicial
                                                          Report re Carbonyl Assay Analysis Report, Enthalpy                                                                   Hearsay; Lay opinion/Improper expert opinion
      39       JLI Document                1/28/2016                                                                 JLI04489260          JLI04489271
                                                          Analytics                                                                                                            MIL1C (lay testimony on safety)
                                                                                                                                                                               802 – Hearsay;
                                                          R. Mumby Email to H. Huh et al. re JUUL Brand
      40       JLI Document                 3/2/2016                                                                 JLI00220089          JLI00220101                          805 – Hearsay within hearsay;
                                                          Positioning and Collateral with Attachment
                                                                                                                                                                               106 – Completeness (incomplete as to “post‐launch feedback”).
                                                                                                                                                                               106 – Completeness (document is “Draft Guidance” and identified as “Draft – Not for
                                                                                                                                                                               Implementation”);
                                                          FDA, Premarket Tobacco Product Applications for                                                                      402 – Irrelevant (document is “Draft Guidance” and identified as “Draft – Not for
      41       Government                   5/1/2016      Electronic Nicotine Delivery Systems, Draft Guidance                                                                 Implementation”);
                                                          for Industry                                                                                                         403 – Confusing/waste of time (document is “Draft Guidance” and identified as “Draft – Not for
                                                                                                                                                                               Implementation”);
                                                                                                                                                                               802 ‐ Hearsay.
                                                                                                                                                                               Hearsay; Double hearsay
                                                          Final Rule re Deeming Tobacco Products to be Subject
                                                                                                                                                                               MIL1A1 (JUUL is a "legal" product or authorized by FDA)
                                                          to the Federal Food, Drug, and Cosmetic Act, as
                                                                                                                                                                               MIL1A5 (JLI complied with all "regs" pre‐deeming)
                                                          Amended by the Family Smoking Prevention and
      42       Government                  5/10/2016
                                                          Tobacco Control Act; Regulations on the Sale and
                                                          Distribution of Tobacco Products and Required
                                                          Warning Statements for Tobacco Products
                                                                                                                                                                               106 – incomplete (omits cover email to document, JLI40653877, which itself contains hearsay
                                                                                                                                                                               and layered hearsay under 802 and 805, and improper lay and/or expert opinion under 701 and
                                                                                                                                                                               702);
                                                                                                                                                                               403 – Confusing, cumulative, waste of time;
                                                                                                                                                                               701 – Improper lay opinion;
                                                                                                                                                                               702 – Improper expert opinion;
                                                          Meeting Information Package, PAX Labs JUUL FDA                                                                       802 ‐ Hearsay;
      43       JLI Document                 9/9/2016                                                                 JLI40653878          JLI40653935
                                                          Briefing                                                                                                             805 – Hearsay within hearsay;
                                                                                                                                                                               104(a) – lacks foundation (omits cover email to document, JLI40653877, which itself contains
                                                                                                                                                                               hearsay and layered hearsay under 802 and 805, and improper lay and/or expert opinion under
                                                                                                                                                                               701 and 702);
                                                                                                                                                                               901 – Not authenticated(omits cover email to document, JLI40653877, which itself contains
                                                                                                                                                                               hearsay and layered hearsay under 802 and 805, and improper lay and/or expert opinion under
                                                                                                                                                                               701 and 702).




                                                                                                                                          2 of 13                                                                                                                        4/8/2022
                                                             Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 4 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                                 Beg Bates             End Bates     Dep. Ex. #                                        Plaintiff's Objections
                                                                                                                                                                             104(a) – Lacks foundation (omits cover email, JLI00076639, which itself contains hearsay and
                                                                                                                                                                             layered hearsay under 802 and 805);
                                                                                                                                                                             901 – Not authenticated (omits cover email, JLI00076639, which itself contains hearsay and
                                                                                                                                                                             layered hearsay under 802 and 805);
                                                                                                                                                                             106 – Incomplete (omits cover email, JLI00076639, which itself contains hearsay and layered
                                                          Presentation re Juul Consumer Insights, Roebling
      44       JLI Document               12/20/2016                                                              JLI00076640          JLI00076743                           hearsay under 802 and 805);
                                                          Research
                                                                                                                                                                             403 – Confusing/cumulative/waste of time;
                                                                                                                                                                             701 – Improper lay opinion;
                                                                                                                                                                             702 – Improper expert opinion;
                                                                                                                                                                             802 – Hearsay;
                                                                                                                                                                             805 Hearsay within Hearsay.
                                                                                                                                                                             104(a) – Lacks foundation (omits parent document, JLI41445932, which was “withheld for
                                                                                                                                                                             privilege”);
                                                                                                                                                                             901 – Not authenticated (omits parent document, JLI41445932, which was “withheld for
      45       JLI Document                 1/1/2017      Presentation re The JUUL Brand Book                     JLI41446032          JLI41446066                           privilege”);
                                                                                                                                                                             106 – Incomplete (omits parent document, JLI41445932, which was “withheld for privilege”);
                                                                                                                                                                             403 – cumulative/waste of time
                                                                                                                                                                             802 – Hearsay.

                                                                                                                                                                             104(a) – Lack foundation (omits parent document, JLI06678492, which was “withheld for
                                                                                                                                                                             privilege”);
                                                                                                                                                                             901 – Not authenticated (omits parent document, JLI06678492, which was “withheld for
                                                                                                                                                                             privilege”);
      46       JLI Document                 1/1/2017      Presentation re JUUL Brand Guidelines Q1 2017           JLI06678493          JLI06678512
                                                                                                                                                                             106 – Incomplete (omits parent document, JLI06678492, which was “withheld for privilege”);
                                                                                                                                                                             403 – cumulative/waste of time;
                                                                                                                                                                             802 – Hearsay;
                                                                                                                                                                             805 – Hearsay within hearsay.
                                                                                                                                                                             104(a) – Lacks foundation (omits cover email, JLI42775867);
                                                                                                                                                               Gould ‐ 5;
               JLI Document;                                                                                                                                                 901 – Not authenticated (omits cover email, JLI42775867);
      47                                   5/18/2017      Presentation re Youth Prevention Strategy                                                           Goldman PX
               Deposition Exhibit                                                                                                                                            106 – Incomplete (omits cover email, JLI42775867);
                                                                                                                                                                35052
                                                                                                                                                                             802 ‐ Hearsay.
                                                          Email from Schroder to Burke attaching ALCS
      48       Altria Document             5/23/2017      presentation re Project Mule and e‐vapor closed‐        5197307142           5197307143
                                                          system opportunities                                                                                               Hearsay; Foundation
               JLI Document;                                                                                                                                                 802‐ Hearsay
      49                                   6/12/2017      Presentation re JUUL INSIGHTS, C. Kania                 JLI00327140          JLI00327155            Kania ‐ D‐35
               Deposition Exhibit                                                                                                                                            805 ‐ Hearsay within Hearsay
                                                                                                                                                                             106 – Lacks completeness/context (popular press articles that purport to repeat and/or
                                                                                                                                                                             summarize certain findings of the CDC);
               JLI Document;                              C. Kemp Email to A. Gould and PAX‐SVC re CDC Study:                                                                701 – Improper lay opinion;
      50                                   6/15/2017                                                          JLI01120490              JLI01120495             Gould ‐ D4
               Deposition Exhibit                         E‐Cigarette Use Drops Among Teens                                                                                  702 – Improper expert opinion;
                                                                                                                                                                             802 – Hearsay;
                                                                                                                                                                             805 – Hearsay within hearsay.
                                                          Email from Schwartz to Baren and others re FDA press                                                               Hearsay; Double hearsay; Triple hearsay; Relevance; 403 (prejudice)
      51       Altria Document             7/28/2017                                                              ALGAT0003830893      ALGAT0003830895
                                                          release on continuum of risk
                                                          Email from Hilsman to Dillard and others re FDA press                                                              Hearsay; Double hearsay; Relevance; 403 (prejudice)
      52       Altria Document             7/28/2017                                                              ALGAT0001782642      ALGAT0001782648
                                                          release on continuum of risk
                                                          Email from Blaylock to Barrington and others
      53       Altria Document             8/17/2017                                                              ALGAT0004018604      ALGAT0004018641
                                                          attaching Aug. 2017 Altria BOD presentation                                                                        Hearsay; Foundation; imroper lay testimony (in attachment)
                                                          Email from Wise to Willard attaching draft ALCS
      54       Altria Document             9/11/2017                                                              ALGAT0000112522      ALGAT0000112523
                                                          presentation re Project Tree Meeting Materials                                                                     Hearsay; Foundation; imroper lay testimony (in attachment)
                                                          Presentation re Internal TPM Correlation Study Juul                                                White 26005 (as No objection
      55       JLI Document                9/19/2017                                                              JLI40147791          JLI40147799
                                                          Devices RevB vs Jaguar EVT2                                                                         JLI00551958)
                                                          S. Gottlieb, A Nicotine‐Focused Framework for Public                                                               Hearsay; Double hearsay; Relevance; 403 (prejudice)
      56                                   9/21/2017      Health, The New England Journal of Medicine, 37:12
                                                          1111‐1114, 2017
                                                          Email from Wappler to Wise and others attaching
      57       Altria Document             9/24/2017                                                              ALGAT0004995323      ALGAT0004995325
                                                          ALCS Presentation re Project Tree Meeting Materials
                                                                                                                                                                             Hearsay; Foundation; imroper lay testimony (in email body)
                                                          Email from Witherspoon to Barrington and others
      58       Altria Document             11/1/2017                                                              ALGAT0003343095      ALGAT0003343333
                                                          attaching Altria Investor Day script and presentation
                                                                                                                                                                             Hearsay; Foundation; improper lay testimony (in attachment)




                                                                                                                                       3 of 13                                                                                                                          4/8/2022
                                                            Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 5 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                                  Beg Bates             End Bates     Dep. Ex. #                                           Plaintiff's Objections
                                                                                                                                                                               104(a) – Lacks foundation (omits cover email, JLI00371769);
                                                                                                                                                                               901 – Not authenticated (omits cover email, JLI00371769);
               JLI Document;                                                                                                                                   Goldman PX
      59                                   11/7/2017      Presentation re JUUL Labs Board Meeting                  JLI00371770          JLI00371815                            106 – Incomplete (omits cover email, JLI00371769);
               Deposition Exhibit                                                                                                                                35051
                                                                                                                                                                               802 – Hearsay;
                                                                                                                                                                               805 – Hearsay within hearsay.
                                                          Warner, K. et al., FDA's Innovative Plan to Address the                                                              104(a) ‐ foundation; 802 ‐ hearsay; 805 ‐ hearsay within hearsay (summarizing Gottlieb's plan
      60                                  11/14/2017
                                                          Enormous Toll of Smoking                                                                                             and quoting from multiple sources); this is also an opinion piece.
                                                          Presentation re J1 Pod Consistency Summary, E. Leon                                                                  No objection
      61       JLI Document               12/18/2017                                                              JLI00551041           JLI00551053             Atkins 1940
                                                          et al.
                                                          Presentation re J1 Pod Consitency Summary, E. Leon                                                                   No objection
      62       JLI Document                1/19/2018                                                              JLI00165096           JLI00165112            Bowen 5055
                                                          et. al.
                                                          Email from Moore to Willard and others re Project
      63       Altria Document             1/21/2018                                                              ALGAT0004188538       ALGAT0004188538
                                                          Tree Download                                                                                                        Hearsay; Foundation
                                                                                                                                                                               106 ‐ incomplete (omits parent documet); 802 ‐ hearsay; 805 ‐ hearsay within hearsay (for
                                                                                                                                                                               example, there are quotes from multiple sources; also, statistics re cigarettes with no source
               JLI Document;
      64                                   1/23/2018      Presentation re JUUL Labs                                JLI05146997          JLI05146997             Gould ‐ D8     [see slide 13]; testimonials); 403 ‐ misleading (for example, Slide 15 "Regulator Agree with Us");
               Deposition Exhibit
                                                                                                                                                                               702 ‐ Improper expert testimony (e.g., slides re HPHCs, public health impact); violation of PMIL
                                                                                                                                                                               1C ‐ Lay Test JUUL Safe and Effective
               JLI Document;
      65                                    2/1/2018      Presentation re JUUL Labs Brand Guide                    JLI05683400          JLI05683400              Kania ‐ 8     No objection
               Deposition Exhibit
      66       JLI Document                2/6/2018       Presentation re Pod OPR                                  JLI04945455          JLI04945455                            Relevance
      67       Altria Document             2/19/2018      Email from Gifford to Willard re call with Perella       ALGAT0000111784      ALGAT0000111785                        Hearsay; Foundation
                                                          Email from Neidle to Bueno‐Tully, Fernandez, and
      68       Altria Document             2/22/2018                                                               ALGAT0000893008      ALGAT0000893009
                                                          Intihar attaching Altria BOD Presentation                                                                            Hearsay; Foundation; improper lay testimony (in attachment)
                                                          Email from Moore to Barrington and others attaching
      69       Altria Document             2/23/2018      Altria BOD presentation re Strategy & Business           ALGAT0004192585      ALGAT0004192594
                                                          Development                                                                                                         Hearsay; Foundation
               JLI Document;                              K. Rantala Email to E. Chan et al. re Coil OD meeting                                               Chrsitensen DX‐ Hearsay; Foundation
      70                                   2/23/2018                                                               JLI06731929          JLI06731932
               Deposition Exhibit                         minutes 2/23                                                                                               11
                                                          E. Leon Email to A. Atkins et at re. DOE 1& 2;Reports                                                               Foundation
      71       JLI Document                2/27/2018                                                               JLI30299910          JLI30299984               Atkins 9
                                                          and data summary                                                                                                    Improper composite exhibit—objections to individual exhibits reserved.
                                                          A. Bowen Email to D. Myers & B. Ingebrethsen re                                                                     No objection
      72       JLI Document                 3/5/2018                                                               JLI10018607          JLI10018607
                                                          myBlu, MarkTen Elite
               JLI Document;                              E. Chan Email to Z. Rouag et al. re Wick and coil spec                                              Christensen DX Foundation; Cumulative
      73                                   3/15/2018                                                               JLI10869729          JLI10869791
               Deposition Exhibit                         change rationale                                                                                          10       Improper composite exhibit—objections to individual exhibits reserved.
                                                          Memorandum re Re‐Evaluation of Cool Mint Flavor E‐                                                                 Hearsay; Foundation; 403 (confusing/misleading)
      74       JLI Document                4/11/2018                                                               JLI06668152          JLI06668152
                                                          liquid for Diacetyl                                                                                                MIL1C (lay testimony on safety)
                                                          Email from Barrington to Kelly‐Ennis and others
      75       Altria Document             4/18/2018                                                               ALGAT0004029775      ALGAT0004029852
                                                          attaching Citi report                                                                                                Hearsay; Foundation; 106 incomplete

                                                          Email from Walker to Dillard and others attaching FDA
      76       Altria Document             4/24/2018                                                            ALGAT0003661134         ALGAT0003661137
                                                          press release on new enforcement actions
                                                                                                                                                                               Hearsay; Foundation
                                                          Warner, K., How to Think ‐ Not Feel ‐ about Tobacco                                                                  104(a) ‐ foundation; 802 ‐ hearsay; 805 ‐ hearsay within hearsay (quoting from multiple
      77                                   4/27/2018
                                                          Harm Reduction                                                                                                       sources); this is also an opinion piece.
                                                          Email from Hunter to Callahan and Becker attaching
      78       Altria Document             4/30/2018                                                               5212421265           5212421266
                                                          JUUL open letter                                                                                                     Hearsay; Foundation; 106 incomplete
                                                          Email from Garnick to Willard and others re JUUL
      79       Altria Document              5/2/2018                                                               ALGAT0004188168      ALGAT0004188169
                                                          addiction assessment                                                                                                 Hearsay; Foundation; improper lay testimony
                                                          Email from Blaylock to Willard and others attaching
      80       Altria Document             5/15/2018      Altria BOD presentation re May 2018 tobacco and e‐       ALGAT0004188273      ALGAT0004188319
                                                          vapor                                                                                                                Hearsay; Foundation
               JLI Document;                                                                                                                                                   No objection
      81                                   5/23/2018      Memorandum re W&C Project Overview                       JLI11179004          JLI11179007           Rouag Ex. 6143
               Deposition Exhibit
                                                                                                                                                                               106 ‐ incomplete (omits parent documet); 901 ‐ authenticity; 104(a) ‐ foundation; 802 ‐ hearsay
      82       JLI Document                5/30/2018      Presentation re Campaign Summary                         JLI00380549          JLI00380549
                                                                                                                                                                               (see, e.g. slide re early sentiment testing [no source])
                                                          Email from Yerkic‐Husejnovic to Abell and others
      83       Altria Document              6/1/2018      attaching ALCS Presentations re Puff Topography and ALGAT0002688586           ALGAT0002688590
                                                          Nicotine Salt Technology                                                                                             Hearsay; Foundation; improper lay testimony
                                                          Email from Walker to Begley and others re Gottlieb
      84       Altria Document              6/7/2018      statement on 2017 National Youth Tobacco Survey      ALGAT0003360540          ALGAT0003360542
                                                          results                                                                                                              Hearsay; Foundation; 403 ‐ Unintelligible
                                                          Email from Kobal to Jupe attaching ALCS Presentation
      85       Altria Document              6/8/2018                                                           ALGAT0001012907          ALGAT0001012908
                                                          re Nicotine Salt Technology                                                                                          Hearsay; Foundation; improper lay testimony




                                                                                                                                        4 of 13                                                                                                                              4/8/2022
                                                             Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 6 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                                   Beg Bates             End Bates   Dep. Ex. #                                       Plaintiff's Objections
                                                          Email from Kobal to Quigley and others attaching
      86       Altria Document             6/13/2018                                                                ALGAT0000389746      ALGAT0000389747
                                                          ALCS Presentation re Nicotine Salt Technology
                                                                                                                                                                            Hearsay; Foundation; improper lay testimony
                                                          Email from Martin to Jupe attaching ALCS
      87       Altria Document             6/15/2018      Presentation re JUUL Overview & JUUL US                   ALGAT0004561479      ALGAT0004561482
                                                          Applications                                                                                                      Hearsay; Foundation; improper lay testimony
                                                          Email from Garnick to Enters and others re aerosol
      88       Altria Document             6/18/2018                                                                ALGAT0005576723      ALGAT0005576726
                                                          mass for modified Elite                                                                                           Hearsay; Foundation
                                                          Email from Kobal to Baculis and Chambers attaching
      89       Altria Document             6/28/2018                                                                ALGAT0004383428      ALGAT0004383429
                                                          ALCS presentation re nicotine salt technology
                                                                                                                                                                            Hearsay; Foundation; improper lay testimony
                                                          Email from Largo to Gogova re JLI press release on
      90       Altria Document             6/29/2018                                                           ALGAT0004831593           ALGAT0004831595
                                                          new CSUR survey                                                                                                   Hearsay; Foundation
                                                          Email from Schuh to Magness and others re summary
      91       Altria Document              7/6/2018                                                           ALGAT0002687475           ALGAT0002687476
                                                          of e‐vapor knowledge                                                                                              Hearsay; Foundation
                                                          Email from Hunter to Becker re JUUL new social media
      92       Altria Document             7/19/2018                                                           5212677647                5212677647
                                                          policy                                                                                                            Hearsay; Foundation
                                                          Email from Willard to Crosthwaite, Garnick, and
      93       Altria Document             7/31/2018                                                                ALGAT0004052642      ALGAT0004052651
                                                          Gifford attaching Project Richard summary of terms
                                                                                                                                                                            Hearsay; Foundation; 106 completeness
                                                          Email from Mountjoy to Willard and others re Tree
      94       Altria Document              8/1/2018                                                                ALGAT0004196377      ALGAT0004196379
                                                          Alternative Plan                                                                                                  Hearsay; Foundation 901 authentication (of attachment)
                                                          Email from Quigley to Willard and others attaching Nu
      95       Altria Document              8/2/2018      Mark presentation re current situation and near term      ALGAT0004045685      ALGAT0004045686
                                                          strategic options                                                                                                 Hearsay; Foundation; improper lay testimony
                                                          Email from Reale to Garnick and others attaching
      96       Altria Document              8/4/2018      Project Richard revised term sheet, redline, and          ALGAT0005572065      ALGAT0005572089
                                                          response index                                                                                                    Hearsay; Foundation
                                                          Email from Mountjoy to Underwood attaching ALCS
      97       Altria Document              8/7/2018                                                                ALGAT0006204558      ALGAT0006204559
                                                          presentation re JUUL adult consumer study                                                                         Hearsay; Foundation
                                                          Email from Gifford to Pritzker, Riaz, Burns, and Willard
      98       Altria Document              8/9/2018                                                               ALGAT0004205033       ALGAT0004205057
                                                          attaching redline and clean summary of terms
                                                                                                                                                                            Hearsay; Foundation
                                                          Email from Garnick to Willard and Gifford attaching
      99       Altria Document             8/10/2018      Nu Mark Presentation re Nu Mark brand and                 ALGAT0004052694      ALGAT0004052696
                                                          regulatory strategy update                                                                                        Hearsay; Foundation
     100       Altria Document             8/15/2018      Email from Willard to Gifford attaching draft terms       ALGAT0004079776      ALGAT0004079779
                                                                                                                                                                            Hearsay; Foundation
                                                          Email from Devitre to Garnick attaching Project
     101       Altria Document             8/19/2018                                                                ALGAT0005549638      ALGAT0005549671
                                                          Richard revised term sheet                                                                                        Hearsay; Foundation
                                                          Email from Underwood to various Altria employees
     102       Altria Document             8/21/2018      attaching various versions of ALCS presentations re E‐    ALGAT0005465201      ALGAT0005465300
                                                          Vapor Update                                                                                                      Hearsay; Foundation; improper lay testimony
     103       Altria Document             8/27/2018      Email from Murillo to Garnick re due diligence            ALGAT0006378888      ALGAT0006378888                    Hearsay; Foundation
     104       JLI Document                9/7/2018       K. Burns Letter to S. Gottlieb re FDA Discussions         JLI00369698          JLI00369702           Burns 8509   Hearsay; Double hearsay; Relevance; 403 (prejudice)
                                                          Memorandum re Telephonic Minutes of a Meeting of
     105       JLI Document                 9/8/2018                                                       JLI12030541                   JLI12030543                        402 ‐ relevance
                                                          the Board of Directors of Juul Labs, Inc.
                                                          Email from Swartzwelder to Knakmuhs and others re                                                                 Hearsay; Double hearsay; Triple hearsay; Relevance; 403 (prejudice)
     106       Altria Document             9/12/2018      FDA press release on new steps to address youth use       ALGAT0005498939      ALGAT0005498942                    MIL1A1 (JUUL is a "legal" product or authorized by FDA)
                                                          epidemic
                                                          Email from Murillo attaching Letter from FDA to Altria
     107       Altria Document             9/12/2018                                                                ALGAT0004671634      ALGAT0004671638
                                                          re MarkTen                                                                                                        Hearsay; Foundation
                                                          Email from Willard to Valani, Pritzker, Burns, and
     108       Altria Document             10/5/2018                                                                ALGAT0004032618      ALGAT0004032620
                                                          Gifford attaching Letter from Altria to JLI                                                                       Hearsay; Foundation
                                                          Email from Wilson to Hunter and others re draft FDA
     109       Altria Document            10/12/2018                                                                ALGAT0005229617      ALGAT0005229619
                                                          response letter                                                                                                   Hearsay; Foundation
                                                          Email from Willard to Pritzker, Riaz, Burns and Gifford
     110       Altria Document            10/15/2018      attaching redline and draft summary of terms for          ALGAT0004208852      ALGAT0004208881
                                                          potential transaction                                                                                             Hearsay; Foundation 106 completeness
                                                          Email from Hunter to Wilson and others attaching
     111       Altria Document            10/16/2018                                                                ALGAT0005455123      ALGAT0005455134
                                                          draft outline for meeting with Gottlieb                                                                           Hearsay; Foundation; 403 relevance
                                                                                                                                                                            Hearsay; Double hearsay; Relevance; Foundation; Relevance; 403 (prejudice); 403 (misleading)
     112       JLI Document               10/16/2018      Presentation re JUUL Labs FDA Presentation                JLI00547353          JLI00547368           Robbins 4    MIL1A1 (JUUL is a "legal" product or authorized by FDA)




                                                                                                                                         5 of 13                                                                                                                     4/8/2022
                                                             Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 7 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                            Description                                    Beg Bates             End Bates   Dep. Ex. #                                        Plaintiff's Objections
                                                          Email from Garnick to Munno and Terry attaching
     113       Altria Document            10/24/2018                                                                  ALGAT0005346638      ALGAT0005346639
                                                          Altria BOD presentation re regulatory update
                                                                                                                                                                              Hearsay; Foundation
                                                          Email from Garnick to Willard attaching letter from
     114       Altria Document            10/25/2018                                                                  ALGAT0004036042      ALGAT0004036047
                                                          Altria to FDA re MarkTen                                                                                            Hearsay; Foundation; 901 authentication (of attachment)

     115       Altria Document            10/25/2018      Email from Nussbaum to Garnick re Tree meeting              ALGAT0005351313      ALGAT0005351313
                                                                                                                                                                              Hearsay; Foundation
                                                          B. Robbins Email to C. Watson et al. re Decision to
     116       JLI Document               10/25/2018                                                                  JLI04057936          JLI04057938                        No objection
                                                          Discontinue Sale of Select Nu Mark SKUs
                                                          Email from Melvin to Parman re reaction to Willard's
     117       Altria Document            10/29/2018                                                                  5215751434           5215751435
                                                          harm reduction and youth usage announcement
                                                                                                                                                                              Hearsay; Foundation; 106 completeness

                                                          Email from Garnick to Garnick and others attaching
     118       Altria Document            10/30/2018                                                                  ALGAT0005457152      ALGAT0005457202
                                                          summary of terms for potential transaction
                                                                                                                                                                              Hearsay; Foundation; 403
               JLI Document;                              Presentation re J1 Pod: Silica Coil OD vs TPM, Dream                                                                Foundation; 403 (confusing)
     119                                  10/30/2018                                                                                                             White DX1
               Deposition Exhibit                         Team
                                                          Email from Wilson to Buell and Murillo attaching
     120       Altria Document            10/31/2018                                                                  ALGAT0004584417      ALGAT0004584471
                                                          Deutsche Bank report sent to FDA                                                                                    Hearsay; Foundation; improper lay testimony
                                                          Email from Shepard to Willard and others attaching
     121       Altria Document            10/31/2018      FDA statement from Gottlieb on meetings with                ALGAT0003358298      ALGAT0003358301
                                                          industry                                                                                                            Hearsay
                                                          Email from Mountjoy to various Altria employees
     122       Altria Document             11/1/2018                                                                  ALGAT0004961708      ALGAT0004961936
                                                          attaching investment reports                                                                                        Hearsay; Foundation
                                                          Email from Archer to Sarkar, Baird, and Gogova
     123       Altria Document             11/6/2018      attaching ALCS Regulatory Affairs presentation re           ALGAT0002681311      ALGAT0002681312
                                                          Team Planning Meeting                                                                                               Hearsay; Foundation
                                                          Presentation re JUUL Youth Prevention Plan Weekly
     124       JLI Document                11/6/2018                                                                  JLI01109346          JLI01109346
                                                          Progress Review                                                                                                     Hearsay; Foundation; 106 completeness; 901 authentication
                                                          Email from Garnick to Willard, Gifford, and
     125       Altria Document             11/9/2018      Crosthwaite re CNBC report on JUUL to remove most           ALGAT0003365141      ALGAT0003365142
                                                          flavors from convenience stores                                                                                     Hearsay; Foundation; 106 completeness

                                                          Burns, Kevin. Juul Labs Action Plan,                                                                                805 ‐ hearsay within hearsay (paraphrasing Gottlieb); 403 ‐ misleading ("JUUL and FDA share a
     126       JLI Document               11/13/2018      https://www.juullabs.com/juul‐labs‐action‐plan/                                                                     common goal"); violation of PMIL 1A1 ‐ Misrep JUUL as authorized by FDA ("JUUL and FDA
                                                          (2018).                                                                                                             share a common goal"); violation of PMIL 1C ‐ Lay Test JUUL Safe and Effective
                                                          K. Burns Letter to I. Paredes re JUUL Labs, Inc.'s Action                                                           805 ‐ hearsay within hearsay (quoting from FDA news releases and statements by commission
     127       JLI Document               11/13/2018                                                                  JLI00548282          JLI00548306
                                                          Plan                                                                                                                Gottlieb, etc; references to statistics)
                                                          Email from Swartzwelder to Abel and others re FDA
     128       Altria Document            11/15/2018      press release on results from 2018 National Youth           5185793007           5185793018
                                                          Tobacco Survey                                                                                                      Hearsay; Foundation; Double hearsay; 106 completeness; 901 authentication
                                                          Email from Wise to Willard and others attaching Altria
     129       Altria Document             12/1/2018                                                                  ALGAT0004200406      ALGAT0004200407
                                                          BOD update presentation                                                                                             Hearsay; Foundation
     130       Altria Document             12/8/2018      Email from Garnick to Masoudi re conference                 ALGAT0006535253      ALGAT0006535253                    Hearsay; Foundation; Double hearsay; 403 relevance
                                                          Email from Blaylock to Hunter, Wise, and Reale
     131       Altria Document            12/11/2018      attaching ALCS Presentation re Strategy Update and          ALGAT0005516718      ALGAT0005516789
                                                          Project Tree                                                                                                        Hearsay; Foundation
                                                          Email from Garnick to Hunter, Walker, and Magness
     132       Altria Document            12/15/2018                                                                  ALGAT0005352816      ALGAT0005352818
                                                          re whether deal will survive the day                                                                                Hearsay; Foundation; 403 relevance
                                                          Email from Livingston to Hunter and others attaching
     133       Altria Document            12/19/2018                                                                  ALGAT0005645265      ALGAT0005645279
                                                          Altria press release re JLI investment                                                                              Hearsay; Foundation; improper summary
                                                          Altria‐JLI Contract Documents: (1) Relationship             ALGAT0005393872      ALGAT0005394080
     134       Altria Document            12/20/2018      Agreement, (2) Services Agreement, (3) Stock                5185108472           5185108507
                                                          Purchase Agreement                                          ALGAT0005394336      ALGAT0005394397                    Hearsay; Foundation
                                                          Email from Crosthwaite to Jupe attaching documents
     135       Altria Document            12/20/2018                                                         ALGAT0005459581               ALGAT0005459603
                                                          related to Altria's announcement of JLI investment
                                                                                                                                                                              Hearsay; Foundation
     136       Altria Document             2/6/2019       May Package Inserts                                  5198229002                  5198229005                         Hearsay; Foundation
     137       Altria Document             2/22/2019      February Marketing Email                             5210733363                  5210733367                         Hearsay; Foundation
                                                          Email from JUUL to Tu re draft March/April Marketing
     138       Altria Document              3/8/2019                                                           5210733359                  5210733362
                                                          Email                                                                                                               Hearsay; Foundation
                                                                                                                                                                              Hearsay; Double hearsay; Foundation
                                                          FDA, The Public Health Rationale for Recommended
     139       Government                  4/29/2019      Restrictions on New Tobacco Product Labeling,
                                                          Advertsing, Marketing, and Promotion




                                                                                                                                           6 of 13                                                                                                                      4/8/2022
                                                             Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 8 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                                Beg Bates             End Bates      Dep. Ex. #                                         Plaintiff's Objections
     140       JLI Document                 6/1/2019      Summary of JUUL Brand Marketing Expenditures           JLI700102315         JLI700102315          Monsees Slide 80 104(a) ‐ foundation; 802 ‐ hearsay; 1002 ‐ Best Evidence rule; 1006 ‐ improper summary
     141       Altria Document              6/3/2019      Email JUUL to Tu re June Marketing Email               5210733368           5210733372                             Hearsay; Foundation
                                                          Email from S. Curry re FDA statement on guidance for
     142       Altria Document             6/11/2019                                                             ALGAT0003323217      ALGAT0003323219
                                                          premarket tobacco                                                                                                  Hearsay; Foundation
               JLI Document;                              Presentation re JUUL Board of Directors Discussion:                                                                402 ‐ relevance (portions); 403 ‐ confusing & misleading (e.g., timetables for many YP and
     143                                   7/24/2019                                                             JLI01022937          JLI01022984             Gould ‐ D17
               Deposition Exhibit                         Day 1                                                                                                              PMTA actions, unclear what occurred)
     144       Altria Document             9/19/2019      December Direct Mailing                                5210830987           5210830996                             Hearsay; Foundation
                                                          Juul Labs Names New Leadership, Outlines Changes to
                                                          Policy and Marketing Efforts,
     145       JLI Document                9/25/2019
                                                          https://juullabs.com/juul‐labs‐names‐new‐leadership‐
                                                          outlines‐change‐to‐policy‐and‐marketing‐efforts/
                                                                                                                                                                             *Hyperlink is broken—objections to proper exhibit reserved.
                                                          Royal College of Physicians, RCP advice on vaping                                                                  Hearsay; Double hearsay; Lay opinion/Improper expert opinion; Relevance; Foundation; 403
     146       Altria Document            10/25/2019      following reported cases of deaths and lung disease in N/A                  N/A                                    (prejudice/misleading)
                                                          the US                                                                                                             MIL1C (lay testimony on safety)
               JLI Document;                                                                                                                                                 Foundation
     147                                   11/6/2019      Drawing re JUUL Pod Coil‐Wick Assembly Rev D           JLI20024415          JLI20024416             White 26012
               Deposition Exhibit
                                                                                                                                                                             Hearsay; Foundation
                                                          JUUL Labs Stops The Sale of Mint JUULPods in the
                                                          United States, https://www.juullabs.com/juul‐labs‐
                                                          stops‐the‐sale‐of‐mint‐juulpods‐in‐the‐united
     148       JLI Document                11/7/2019
                                                          states/#:~:text=In%20light%20of%20the%20studies,th
                                                          e%20sale
                                                          %20of%20Mint%20JUULpods
                                                          Selected excerpts from Surgeon General, Smoking                                                                    106 (incomplete); 403 (misleading/incomplete)
     149       Government                   1/1/2020      Cessation A Report of the Surgeon General (2020) (p.                                                               Improper composite exhibit—objections to individual exhibits reserved.
                                                          65)
                                                          Email from FDA to Gardner re FDA press release on
     150       Altria Document              1/2/2020      finalizing enforcement policy on unauthorized           ALGAT0005819939     ALGAT0005819942
                                                          flavored e‐cigarettes                                                                                              Hearsay; Foundation; improper summary
                                                          FDA News Release re FDA Finalizes Enforcement                                                                      Hearsay; Double hearsay; Foundation; Relevance; 403 (prejudice)
                                                          Policy on Unauthorized Flavored Cartridge‐Based E‐                                                                 MIL1A1 (JUUL is a "legal" product or authorized by FDA)
     151       Government                   1/2/2020
                                                          Cigarettes that Appeal to Children, including fruit and
                                                          mint (2020)
                                                          Altria‐JLI Amended Contract Documents: (1) Am. Class
     152       Altria Document             1/28/2020      C‐1 Common Stock Purchase Agreement, (2) Am.         5186324702             5186324716
                                                          Relationship Agreement, (3) Am. Services Agreement
                                                                                                                                                                             Hearsay; Foundation
     153       Altria Document             1/30/2020      Press release re revising terms of JLI transaction   N/A                    N/A                                    Hearsay; Foundation
                                                          Email from Tu to Baumstark and Masouras attaching
     154       Altria Document              4/6/2020      ALCS presentation summarizing marketing services for 9566600104             9566600105
                                                          JLI                                                                                                                Hearsay; Foundation In attachment
                                                          Report re Through Life Testing at STC ‐ PMTA                                                                       Hearsay; Foundation; 403 (misleading)
     155       JLI Document                 4/6/2020      Jagwar/J1 Pods ‐ PMTA JUUL Device and JUULpod,       JLI20024513            JLI20024513
                                                          DVR‐00023, Rev B (Cambridge)
                                                                                                                                                                             Hearsay; Double hearsay; Lay opinion/Improper expert opinion; 403 (prejudice)
                                                          J. Henningfield et al., Premarket Tobacco Product
     156       JLI Document                 4/8/2020                                                             JLI20121824          JLI20122019             Eissenberg 1
                                                          Application Abuse Liability Assessment Report
                                                                                                                                                                             Hearsay; Foundation; 403 (misleading); Relevance
     157       JLI Document                7/30/2020      JUUL Labs, Report re Comparison Product Testing        JLI20026431          JLI20026491               Bhat 164
     158       Altria Document            10/13/2020      Store‐Level ITP Reset spreadsheet                      9561526916           9561526916                             Hearsay; Foundation
                                                                                                                                                                             Hearsay; Foundation; Authenticity; Relevance
     159                                    1/1/2021      About Logic LQD Open Tank Vape Logic Vapes website
                                                                                                                                                                             MIL1B (ads for other products)
     160       JLI Document                1/12/2021      Summary of US Net Revenue and Units 2015 to 2019       JLI52305553          JLI52305553                            No objection
                                                          Press release re financial results and 1.5b valuation of
     161       Altria Document             4/29/2021                                                               N/A                N/A
                                                          investment                                                                                                         Hearsay; Foundation
                                                          D.J.K Balfour, et al., Balancing Consideration of the                                                              Hearsay; Double hearsay; Foundation (learned treatise); Lay/Improper expert opinion;
     162                                    9/1/2021      Risks and Benefits of E‐Cigarettes, American Journal                                                               Relevance; 403 (prejudice)
                                                          of Public Health (2021)
                                                          FDA News Release re FDA Permits Marketing of E‐                                                                    Hearsay; Double hearsay; Foundation; Relevance; 403 (prejudice)
     163       Government                 10/12/2021      Cigarette Products, Marking First Authorization of Its                                                             MIL1A1 (JUUL is a "legal" product or authorized by FDA)
                                                          Kind by the Agency




                                                                                                                                      7 of 13                                                                                                                             4/8/2022
                                                             Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 9 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                         Description                                Beg Bates                          End Bates         Dep. Ex. #                                        Plaintiff's Objections
                                                      J. Bigelow Letter to J. Corley re Robin Bain,
                                                      Individually and as the Legal Guardian of Her Minor
     164                                  10/14/2021                                                                                                                                      FRE 802 (expert reports are inadmissible hearsay)
                                                      Child, B.B. v. Juul Labs, Inc., et al., Case No. 20‐cv‐
                                                      07174‐WHO
                                                      Royal College of Physicians, Nicotine Without Smoke,                                                                                104(a) ‐ foundation; 802 ‐ hearsay; 805 ‐ hearsay within hearsay (summarizing Gottlieb's plan
     165       Altria Document            04/00/2016                                                          N/A                                N/A
                                                      Tobacco Harm Reduction                                                                                                              and quoting from multiple sources); 402 ‐ relevance (UK)
     166       Altria Document            09/00/2019 September Package Inserts                                5198229006                         5198229009                               No objection
                                           9/1/2017;                                                          JLI00475886;                       JLI00475889;
     167       JLI Document               11/13/2018; Group Exhibit of Authorized Reseller Program Policies JLI30717639;                         JLI30717645;                             Improper composite exhibit—objections to individual exhibits reserved.
                                           8/26/2018                                                          JLI07001023                        JLI07001028
                                                                                                                                                                                          104 (a) ‐ Lack of Foundation;
                                                                                                                                                                                          802 ‐ Hearsay
                                                                                                                                                                                          805 ‐ Hearsay within Hearsay
     168       Deposition Exhibit                         Summary of JUUL Marketing Over Time                                                                                Kania D‐38   403 – Confusing, cumulative, waste of time, unduly prejudicial; Misleading




                                                                                                                                                                                          104 (a) ‐ Lack of Foundation;
                                                                                                                                                                                          802 ‐ Hearsay
     169       Deposition Exhibit                         Summary of JUUL Sales and Marketing Over Time                                                                      Kania D‐41
                                                                                                                                                                                          805 ‐ Hearsay within Hearsay
                                                                                                                                                                                          403 – Confusing, cumulative, waste of time, unduly prejudicial; Misleading
                                                          Group Exhibit of Gavernment Data, including NYTS                                                                                106 (incomplete ‐ no documents identified); 403 (misleading/incomplete)
                                                          MMWR Data and Reports from 2011‐2021; CDC Fast                                                                                  Improper composite exhibit—objections to individual exhibits reserved.
     170       Government
                                                          Facts re Smoking and Tobacco Use; Health
                                                          Information National Trends Survey
                                                                                                                     JLI01473512; JLI01473727;   JLI01473513; JLI01473728;
                                                                                                                     JLI01473985; JLI03584486;   JLI01473986; JLI03584486;
                                                                                                                     JLI01474050; JLI01474236;   JLI01474051; JLI01474236;
                                                                                                                                                                                          Object as improper "group exhibit" (objections to individual exhibits reserved); JLI04549134‐
     171       JLI Document                               Group Exhibit of JUUL Warnings                             JLI01474239; JLI01043663,   JLI01474239; JLI01043663;
                                                                                                                                                                                          106,901; JLI04549549‐402,403,802; JLI40404481 ‐ 402, 403, 802 901.
                                                                                                                     JLI40404481, JLI01474326;   JLI40404481; JLI01474326;
                                                                                                                     JLI01029088; JLI04549549;   JLI01029088; JLI04549549;
                                                                                                                     JLI01028845; JLI04549134    JLI01028845; JLI04549134
                                                                                                                     JLI42775931; JLI05146997;   JLI42775931; JLI05146997;
                                                                                                                     JLI40348131; JLI00371775;   JLI40348131; JLI00371775;
                                                                                                                     JLI01022937; JLI00084895;   JLI01022937; JLI00084895;
                                                                                                                                                                                          Improper “Summary of Youth Prevention Actions;”
                                                                                                                     JLI05683400; JLI04824826;   JLI05683400; JLI04824826;
                                                                                                                                                                                          Violates Case Management Order in that the “document” identified in ref. no. 172 is in fact 16
     172       JLI Document                               Summary of Youth Prevention Actions                        JLI01435881; JLI00004457;   JLI01435881; JLI00004457;
                                                                                                                                                                                          individual documents, exceeding the total number agreed to by the parties and ordered by the
                                                                                                                     JLI01147704; JLI02258542;   JLI01147704; JLI02258542;
                                                                                                                                                                                          court. Objections to individual exhibits reserved.
                                                                                                                     JLI01095994; JLI09634498;   JLI01095994; JLI09634498;
                                                                                                                     JLI01148887; JLI41072110    JLI01148887; JLI41072110

                                                                                                                                                                                          Improper composite exhibit—objections to individual exhibits reserved.
                                                          Group Exhibit of PMTA Summaries of (i) data from
                                                          study PROT‐01326; (ii) consumption data for
                                                          participants in PMTA study characterizing consumer
                                                          topography; (iii) data from pharmacokinetic studies
                                                          CH 1701 and CH 1702, (iv) data from Alcohol and
                                                          Tobacco Tax and Trade Bureau (TTB) (2011–2016) and
                                                                                                                                                 JLI20003262; JLI20162304;
                                                          IRI (2016–2019); (v) estimated cardiovascular health
                                                                                                                     JLI20003262; JLI20162207;   JLI20121824;
                                                          risk of ENDS products based on data from PMTA
                                                                                                                     JLI20121824; JLI00558574;   JLI00558574; JLI20002630;
                                                          quantitative risk assessment; (vi) estimated
                                                                                                                     JLI20002630; JLI20002631;   JLI20002631;
                                                          respiratory health risk of ENDS products based on
                                                                                                                     JLI20003256; JLI20000164;   JLI20003256; JLI20000164;
     173       JLI Document                               data from PMTA quantitative risk assessment; (vii)
                                                                                                                     JLI20002915; JLI20003371;   JLI20002915;
                                                          prevalence of current use of ENDS and cigarettes in
                                                                                                                     JLI20003372; JLI20002216;   JLI20003371; JLI20003372;
                                                          NYTS; (viii) toxicant data in JUUL system aerosol
                                                                                                                     JLI20000390; JLI20003126;   JLI20002216;
                                                          compared to cigarette smoke; (ix) data from study
                                                                                                                     JLI20124211                 JLI20000390; JLI20003126;
                                                          PROT‐01346; (x) NHIS observed adult smoking
                                                                                                                                                 JLI20124514
                                                          prevalence rates; (xi) NYTS observed prevalence rates
                                                          of youth past‐30‐day smoking and established
                                                          smoking; (xii) non‐intense aerosol levels of chemicals,
                                                          HPHCS, and chemical and physical properties
                                                          measured in stability study TK91; (xiii) data from study
                                                          PROT‐00033.




                                                                                                                                                 8 of 13                                                                                                                              4/8/2022
                                                           Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 10 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                          Description                             Beg Bates                              End Bates            Dep. Ex. #                                             Plaintiff's Objections
                                                                                                            JLI01359458; JLI05650298;              JLI01359478; JLI05650333;
                                                                                                                                                                                                   Composite (objections to individual exhibits reserved); 402 ‐ relevance; JLI43415162 is not a
     174       JLI Document                               Summaries of JUUL financial performance 2015‐2020 JLI11790986;                           JLI11791033;
                                                                                                                                                                                                   JUUL financial performance report
                                                                                                            JLI04612510; JLI43415162               JLI04612565; JLI43415218
                                                                                                                                                   JLI01147478; JLI01147536;                       Improper composite exhibit—objections to individual exhibits reserved.
                                                                                                                                                   JLI01147540; JLI00067671;
                                                                                                          JLI01147474; JLI01147479;
                                                                                                                                                   JLI01147559; JLI01147589;
                                                                                                          JLI01147537; JLI00067662;
                                                                                                                                                   JLI04477992; JLI01250161;
                                                                                                          JLI01147551; JLI01147560;
                                                                                                                                                   JLI01147609; JLI00162992;
                                                                                                          JLI04477991; JLI01250160;
                                                                                                                                                   JLI01147610; JLI04478015;
                                                                                                          JLI01147594; JLI00162980;
                                                                                                                                                   JLI01147650; JLI01147732;
                                                                                                          JLI01147610; JLI04477993;
                                                                                                                                                   JLI01147739;
                                                                                                          JLI01147611; JLI01147714;
                                                                                                                                                   JLI01147743; JLI01109361;
     175       JLI Document                               Summary of Meeting Documents re PMTA Submission JLI01147733; JLI01147740;
                                                                                                                                                   JLI01061966;
                                                                                                          JLI01109351; JLI01061953;
                                                                                                                                                   JLI01147784; JLI01148058;
                                                                                                          JLI01147758; JLI01148057;
                                                                                                                                                   JLI01147850;
                                                                                                          JLI01147845; JLI01148044;
                                                                                                                                                   JLI01148047; JLI01148056;
                                                                                                          JLI01148048; JLI01148178;
                                                                                                                                                   JLI01148180;
                                                                                                          JLI01148181; JLI00558030;
                                                                                                                                                   JLI01148183; JLI00558044;
                                                                                                          JLI01148074; JLI04478016;
                                                                                                                                                   JLI01148177;
                                                                                                          JLI04478050; JLI04477623
                                                                                                                                                   JLI04478049; JLI04478089;
                                                                                                                                                   JLI04477623
                                                                                                                       JLI04699622; JLI00896131;   JLI04699623; JLI00896135;                       Improper composite exhibit—objections to individual exhibits reserved.
                                                                                                                       JLI00896690; JLI01064787;   JLI00896690; JLI01064787;
                                                                                                                       JLI00896128; JLI01074650;   JLI00896128; JLI01074650;
                                                                                                                       JLI00895948; JLI01064792;   JLI00895951; JLI01064793;
                                                                                                                       JLI01064759; JLI00656382;   JLI01064759; JLI00656389;
     176       JLI Document                               Summary of Chemistry and Toxicity Testing                    JLI00656390; JLI00656391;   JLI00656390; JLI00656391;
                                                                                                                       JLI04490026; JLI04492171;   JLI04490033; JLI04492171;
                                                                                                                       JLI00557516; JLI42404733;   JLI00557519; JLI42404748;
                                                                                                                       INREJUUL_00002912;          INREJUUL_00002918;
                                                                                                                       JLI04616749; JLI40656377;   JLI04616758; JLI40656444;
                                                                                                                       JLI42407508                 JLI42407533
                                                                                                                                                                                                   Object as improper "group exhibit" (objections to individual exhibits reserved)
                                                                                                                                                                                 Kania ‐ D‐32;     104 (a) ‐ Lack of Foundation;
                                                                                                                       JLI01044093;                JLI01044094;
                                                                                                                                                                                 Kania ‐ D‐42;     802 ‐ Hearsay
               JLI Document;                                                                                           JLI01048124;                JLI01048124;
     177                                                  Group Exhibit of JUUL Advertisements                                                                                   Goldman PX        805 ‐ Hearsay within Hearsay
               Deposition Exhibit                                                                                      JLI01040818;                JLI01040818;
                                                                                                                                                                               35045; Kania ‐ D‐   403 – Confusing, cumulative, waste of time, unduly prejudicial; Misleading
                                                                                                                       JLI04485974                 JLI04485974
                                                                                                                                                                                      43           901

                                                          Group Exhibit of Marais Summaries of Youth and
     178
                                                          Adult Use (Marais Report Ex. 1‐7, 13, 14)                                                                                                No objection if intented as a demonstrative only.
                                                          Group Exhibit of Berger Summaries of Social Media                                                                                        Objections: Improper "group exhibit" (objections to individual exhibits reserved); also multiple
     179
                                                          Posts (Berger Report Ex. 1‐11, 17‐27, 29‐35‐37‐53)                                                                                       objections to multiple summaries, figures including 402, 802, 803, 901, 403, MIL 1B
                                                          Group Exhibit of Rossi Summaries of Sales Data (Rossi                                                                                    Objections: Improper "group exhibit" (objections to individual exhibits reserved); 801, 803,
     180
                                                          Report Fig. 9)                                                                                                                           901, 403
                                                          Group Exhibit of Henningfield Summaries                                                                                                  Hearsay; Double hearsay; Foundation (learned treatises/ demonstrative aids); Improper expert
     181                                                  (Henningfield Report Table 1, 2, 4‐11; Fig. 1, 2, 4, 7, 9,                                                                               opinion; 403 (prejudice)
                                                          14, 16‐17, 19, 21‐25)                                                                                                                    Improper composite exhibit—objections to individual exhibits reserved.
                                                                                                                                                                                                   Composite (objections to individual exhibits reserved); 805 ‐ hearsay within hearsay (no source
                                                          Group Exhibit of Stratton Summaries (Stratton Report
     182                                                                                                                                                                                           for certain figures [e.g., Fig. 7, 8, 13, 14, 20, 21); 1002 ‐ Best Evidence rule; 1006 ‐ improper
                                                          Fig. 7, 8, 11, 13, 14, 20, 21, 23, 25, 27)
                                                                                                                                                                                                   summary
                                                      Group Exhibit of Steinberg Summaries (Steinberg                                                                                              Composite (objections to individual exhibits reserved); 805 ‐ hearsay within hearsay; 1002 ‐
     183
                                                      Report Fig. 1, 3)                                                                                                                            Best Evidence rule; 1006 ‐ improper summary
                                          8/25/2020;
                                          10/26/2020;
                                           4/3/2021;
                                          8/17/2021;
     184       Bain Document               4/5/2021; Group Exhibit of B.B. Discovery Responses                                                                                                     No objection
                                          8/18/2021;
                                          9/20/2021;
                                          1/25/2022;
                                           4/13/2021




                                                                                                                                                   9 of 13                                                                                                                                      4/8/2022
                                                           Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 11 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                               Beg Bates                     End Bates             Dep. Ex. #                                          Plaintiff's Objections
                                                                                                               BBAINPL‐MMC‐000001;           BBAINPL‐MMC‐000015;
                                                                                                               BBAINPL‐MMC‐000016;           BBAINPL‐MMC‐000196;
                                                                                                               BBAINPL‐MMC‐000197;           BBAINPL‐MMC‐000257;
                                                                                                               BBAINPL‐MMC‐000258;           BBAINPL‐MMC‐000287;
                                                                                                               BBAINPL‐MMC‐000288;           BBAINPL‐MMC‐000300;
                                                                                                               BBAINPL‐EyeCtrsOfTN‐000001;   BBAINPL‐EyeCtrsOfTN‐000009;
                                                                                                               BBAINPL‐                      BBAINPL‐
                                                                                                               SnodGrassKingDentalArts‐      SnodGrassKingDentalArts‐
                                                                                                               000001;                       000024;
                                                                                                               BBAINPL‐                      BBAINPL‐
                                                                                                               HickoryCreekDentalArts‐       HickoryCreekDentalArts‐
                                                                                                               000001;                       000005;
                                                                                                               BBAINPL‐                      BBAINPL‐
                                                                                                               HoneycuttFamDentistry‐        HoneycuttFamDentistry‐
     185       Bain Document                              Group Exhibit of B.B. Medical Records                                                                                              No objection
                                                                                                               000001;                       000006;
                                                                                                               BBAINPL‐BAMedRecords‐         BBAINPL‐BAMedRecords‐
                                                                                                               000016;                       000016;
                                                                                                               BBAINPL‐BAMedRecords‐         BBAINPL‐BAMedRecords‐
                                                                                                               000017;                       000017;
                                                                                                               BBAINPL‐BAMedRecords‐         BBAINPL‐BAMedRecords‐
                                                                                                               000018;                       000021;
                                                                                                               BBAINPL‐KrogerPharmacy‐       BBAINPL‐KrogerPharmacy‐
                                                                                                               000006;                       000007;
                                                                                                               BBAINPL‐RiteAidPharm‐         BBAINPL‐RiteAidPharm‐
                                                                                                               000001;                       000002;
                                                                                                               BBAINPL‐BAMedRecords‐         BBAINPL‐BAMedRecords‐
                                                                                                               000022;                       000022;
                                                                                                               BBAINPL‐BAMedRecords‐         BBAINPL‐BAMedRecords‐
                                                                                                               BAINB‐MDL2913‐MRC‐01439;      BAINB‐MDL2913‐MRC‐01440;
                                                                                                               BBAINPL‐WarrenCoMidSch‐       BBAINPL‐WarrenCoMidSch‐
                                                                                                               000001;                       000005;
                                                                                                               BBAINPL‐                      BBAINPL‐
                                                                                                               WarrenCountyHigSchool‐        WarrenCountyHigSchool‐
                                                                                                               000001;                       000007;
                                                                                                               BBAINPL‐AcellusAcademy‐       BBAINPL‐AcellusAcademy‐
     186       Bain Document                              Group Exhibit of B.B. Academic Records                                                                                             No objection
                                                                                                               000001;                       000023;
                                                                                                               BBAINPL‐                      BBAINPL‐
                                                                                                               WarrenCountyHigSchool‐        WarrenCountyHigSchool‐
                                                                                                               000008;                       000010;
                                                                                                               BBAINPL‐                      BBAINPL‐
                                                                                                               WarrenCountyHigSchool‐        WarrenCountyHigSchool‐
                                                                                                               000011                        000014
                                                                                                               BBAINPL‐PLPHOTO‐000010;       BBAINPL‐PLPHOTO‐000010;
     187       Bain Document                              Bain photos re ENDS Products                                                                                                       No objection
                                                                                                               BBAINPL‐PLPHOTO‐000119        BBAINPL‐PLPHOTO‐000119
               Bain Document;
     188                                    7/1/2017      Screenshot re JUUL.com, Age‐Gate as of July 2017                                                                 Bella Bain ‐ 18   FRE 901, 902 (foundation and authentication)
               Deposition Exhibit
               Bain Document;
     189                                    1/2/2018      Screenshot re Social Media Instant Messages          BBAINPL‐SocialMedia‐000007 BBAINPL‐SocialMedia‐000007       Bain, Bella ‐ 17 FRE 402, 403 (relevance, more prejudicial than probative); PMIL 2G
               Deposition Exhibit
               Bain Document;                             JUUL Email to B.B. re Verify You're 21+ To Shop On
     190                                  12/21/2018                                                           BBAINPL_Emails000125          BBAINPL_Emails000126          Bain, Bella ‐ 12 No objection
               Deposition Exhibit                         JUUL.com
               Bain Document;                             JUUL Email to B.B. re Verify You're 21+ To Shop On
     191                                  12/22/2018                                                           BBAINPL_Emails000123          BBAINPL_Emails000124          Bain, Bella ‐ 13 No objection
               Deposition Exhibit                         JUUL.com
               Bain Document;
     192                                   1/20/2022      Photos re JUUL Advertisements                        BBAINPL‐Ad&Image‐000001       BBAINPL‐Ad&Image‐000094       Bain, Bella ‐ 14 No objection
               Deposition Exhibit
                                                                                                                                                                                             Hearsay; Double hearsay; Foundation (learned treatises); Improper expert opinion; 403
     193       JLI studies                                Group exhibit ‐‐ see Rows195‐231                                                                                                   (prejudice)
                                                                                                                                                                                             Improper composite exhibit—objections to individual exhibits reserved.
                                                          —12/19/19 Presentation re Initial Findings From A
                                                          Pilot Program Of A Novel System To Improve Retailer
                                                                                                               JLI01116069                   JLI01116069
                                                          Compliance for Tobacco Product Purchases, S. Prakash
                                                          et al.




                                                                                                                                             10 of 13                                                                                                                                4/8/2022
                                                           Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 12 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                                 Beg Bates              End Bates   Dep. Ex. #   Plaintiff's Objections
                                                          —3/19/14 G. Cohen et al., A Four‐Way Crossover
                                                          Study Comparing Nicotine Pharmacokinetics and
                                                          Exhaled Carbon Monoxide Levels of Traditional
                                                                                                                 JLI00828729           JLI00828764
                                                          Tobacco Cigarette and Three Nicotine‐Based eLiquid
                                                          Blends Delivered via e‐Cigarette, Following Single Use
                                                          in Healthy Male Smokers
                                                          —3/11/15 C. Wynne, A Four-Way Crossover Study
                                                          Comparing Nicotine Pharmacokinetics and Exhaled
                                                          Carbon Monoxide Levels of a Traditional Tobacco
                                                                                                                 JLI01074482           JLI01074549
                                                          Cigarette and Three Nicotine-Based eLiquid Blends
                                                          Delivered via e-Cigarette, Following Single Use
                                                          Healthy Male Smokers, 2014
                                                          —6/30/17 C. Wynne, A Five-sequence, Partially
                                                          Randomized Crossover Pilot Study Comparing
                                                          Nicotine Pharmacokinetics of a Traditional Tobacco     JLI30024820           JLI30024874
                                                          Cigarette and Juul 5% Nicotine Salt Based ENDS
                                                          Product, in Healthy Adult Male Smokers
                                                          —12/2/17 P. Mehoudar, A Six-Sequence, Randomized
                                                          Crossover Study Comparing Nicotine
                                                          Pharmacokinetics of Traditional Cigarettes and JUUL    JLI00241855           JLI00241927
                                                          5% Nicotine Salt Based ENDS Products, in Healthy
                                                          Adult Smokers
                                                          —5/24/19 P. Mathew, Clinical Study Report re A
                                                          Randomized, Open-Label, Parallel-Group Study to
                                                          Characterize Biomarkers of Tobacco Exposure and        JLI20061529           JLI20065382
                                                          Nicotine Uptake from JUUL 5% Electronic Nicotine
                                                          Delivery Systems (ENDS) in Adult Smokers
                                                          —10/31/19 J. Jay et al., Five-Day Changes in
                                                          Biomarkers of Exposure Among Adult Smokers After
                                                          Completely Switching From Combustible Cigarettes to
                                                          a Nicotine-Salt Pod System, Nicotine and Tobacco
                                                          Research, 22(8): 1285-1293, 2020
                                                          —3/25/20 Report re Performance After Squeezing,
                                                                                                                 JLI20026401           JLI20026401
                                                          RPT‐04864, Rev A. (Cambridge)
                                                          —7/10/20 A Randomized, Open‐Label, Parallel‐Group
                                                          Study in Adult Smokers to Evaluate Changes in
                                                          Biomarkers of Cigarette Smoke Exposure After
                                                          Switching Either Exclusively or Partly to Using JUUL JLI20071034             JLI20071243
                                                          Electronic Nicotine Delivery Systems with Two
                                                          Different Nicotine Concentrations, A Clinical Study
                                                          Report, PROT‐00030, Juul Labs
                                                          —8/20/20 Presentation re Pharmacokinetics and
                                                          Subjective Effects of the JL Electronic Nicotine
                                                          Delivery System (ENDS) Compared to Five ENDS, a
                                                          Heated Tobacco Product, and a Combustible Cigarette,
                                                          A. Buchhalter et al.
                                                          —10/30/14 M. Misra et al., Comparative In Vitro
                                                          Toxicity Profile of Electronic and Tobacco Cigarettes,
                                                          Smokeless Tobacco and Nicotine Replacement
                                                          Therapy Products: E‐Liquids, Extracts and Collected
                                                          Aerosols, International Journal for Environmental
                                                          Research and Public Health, 11(11): 11325‐11347,
                                                          2014
                                                          —11/5/19 Jay, J. et al. Five‐Day Changes in
                                                          Biomarkers of Exposure Among Adult Smokers After
                                                          Completely Switching From Combustible Cigarettes to
                                                          a Nicotine‐Salt Pod System
                                                          —6/4/20 D. Kelsh, Clinical Study Report re A
                                                          Randomized, Open‐Label, Cross‐Over Study to
                                                          Characterize the Nicotine Uptake and Subjective
                                                          Effects with Use of JUUL Electronic Nicotine Delivery
                                                                                                                 JLI20060707           JLI20060900
                                                          Systems with Multiple Flavors and Nicotine
                                                          Concentrations, Usual Brand of Combustible
                                                          Cigarettes, a Comparator E‐Cigarette and Nicotine
                                                          Gum in Adult Smokers




                                                                                                                                       11 of 13                                                     4/8/2022
                                                           Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 13 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                         Beg Bates              End Bates   Dep. Ex. #   Plaintiff's Objections

                                                          —8/14/20 N. Goldenson et al., An Open‐Label,
                                                          Randomized, Controlled, Crossover Study to Assess
                                                          Nicotine Pharmacokinetics and Subjective Effects of
                                                          the JUUL System with Three Nicotine Concentrations
                                                          Relative to Combustible Cigarettes in Adult Smokers,
                                                          Nicotine and Tobacco Research, 2021 947‐955, 2021

                                                          —11/24/20 N. Goldenson et al., Abuse liability
                                                          assessment of the JUUL system in two nicotine
                                                          concentrations compared to combustible cigarette,
                                                          nicotine gum and comparator electronic nicotine
                                                          delivery system, Drug and Alcohol Dependence, 217
                                                          (2020) 108441, 2020
                                                          —12/1/20 Goldenson, N. et al., Abuse liability
                                                          assessment of the JUUL system in two nicotine
                                                          concentrations compared to combustible cigarette,
                                                          nicotine gum and comparator electronic nicotine
                                                          delivery system
                                                          —12/1/20 Goldenson, N. et al., Abuse liability
                                                          assessment of the JUUL system in four flavors relative
                                                          to combustible cigarette, nicotine gum and a
                                                          comparator electronic nicotine delivery system among
                                                          adult smokers
                                                          —1/25/21 Goldenson, N. et al., An Open‐Label,
                                                          Randomized, Controlled, Crossover Study to Assess
                                                          Nicotine Pharmacokinetics and Subjective Effects of
                                                          the JUUL System with Three Nicotine Concentrations
                                                          Relative to Combustible Cigarettes in Adult Smokers

                                                          —5/1/21 Prakash, S. et al., Prevalence of ENDS and
                                                          JUUL Use, by Smoking Status, in National Samples of
                                                          Young Adults and Older Adults in the U.S.

                                                          —5/1/21 Shiffman, S. et al., The Adult JUUL Switching
                                                          and Smoking Trajectories (ADJUSST) Study: Methods
                                                          and Analysis of Loss‐to‐Follow‐Up
                                                          —5/1/21 Goldenson, N. et al., Switching away from
                                                          Cigarettes across 12 Months among Adult Smokers
                                                          Purchasing the JUUL System
                                                          —5/1/21 Selya, A. et al., Dual Use of Cigarettes and
                                                          JUUL: Trajectory and Cigarette Consumption
                                                          —5/1/21 Kim, S. et al., Switching away from Cigarette
                                                          Smoking with JUUL: Populations of Special Interest

                                                          —5/1/21 Le, G. et al., Cigarette Smoking Trajectories
                                                          in Adult Former Smokers Using the JUUL System
                                                          —5/1/21 Shiffman, S. et al., Smoking Trajectories of
                                                          Adult Never Smokers 12 Months after First Purchase
                                                          of a JUUL Starter Kit
                                                          —5/1/21 Prakash, S. et al., Transitions in Smoking
                                                          among Adults Newly Purchasing the JUUL System
                                                          —5/1/21 Shiffman, S. et al., Changes in Dependence
                                                          as Smokers Switch from Cigarettes to JUUL in Two
                                                          Nicotine Concentrations
                                                          —5/1/21 Chen, T. et al., Improving Retailer
                                                          Compliance for Tobacco Purchases: Pilot Study
                                                          Findings
                                                          —5/1/21 Wissman, R. et al., Modeling the Population
                                                          Health Impact of ENDS in the U.S.




                                                                                                                               12 of 13                                                     4/8/2022
                                                           Case 3:19-md-02913-WHO Document 3062-9 Filed 04/25/22 Page 14 of 14
In Re: JUUL Labs, Inc., Marketing, Sales Practices and Products Liability Litigation (B.B.)

Plaintiff's Objections to Defendants' Priority Exhibits


   Ref. No.            Category             Doc Date                           Description                          Beg Bates              End Bates   Dep. Ex. #   Plaintiff's Objections
                                                          —5/1/21 A. Selya et al., Dual Use of Cigarettes and
                                                          JUUL: Trajectory and Cigarette Consumption,
                                                          American Journal of Health Behavior, 45(3): 464‐485,
                                                          2021
                                                          —5/1/21 S. Shiffman et al., Changes in Dependence as
                                                          Smokers Switch from Cigarettes to JUUL in Two
                                                          Nicotine Concentrations, American Journal of Health
                                                          Behavior, 45(3): 563‐575, 2021
                                                          —5/18/21 Goldenson, N. et al., Differences in
                                                          Switching Away From Smoking Among Adult Smokers
                                                          Using JUUL Products in Regions With Different
                                                          Maximum Nicotine Concentrations: North America
                                                          and the United Kingdom
                                                          —6/21/21 G. Cohen et al., Changes in Biomarkers of
                                                          Cigarette Smoke Exposure After 6 Days of Switching
                                                          Exclusively or Partially to Use of the JUUL System with
                                                          Two Nicotine Concentrations: A Randomized
                                                          Controlled Confinement Study in Adult Smokers,
                                                          Nicotine & Tobacco Research, 23(12): 2153‐2161,
                                                          2021
                                                          —9/7/21 N. Goldenson et al., Switching away from
                                                          Cigarettes across 12 Months among Adult Smokers
                                                          Purchasing JUUL Systems, Am J Health Behav.,
                                                          2021;45(3):443‐463, 2021
                                                          —10/3/21 X. Chen et al., Targeted Characterization of
                                                          the Chemical Composition of JUUL Systems Aerosol
                                                          and Comparison with 3R4F Reference Cigarettes and
                                                          IQOS Heat Sticks, Separations, 8(10), 2021

                                                          —11/1/21 Cohen, G. et al., Changes in Biomarkers of
                                                          Cigarette Smoke Exposure After 6 Days of Switching
                                                          Exclusively or Partially to Use of the JUUL System with
                                                          Two Nicotine Concentrations: A Randomized
                                                          Controlled Confinement Study in Adult Smokers

                                                          —2/1/22 Goldenson, N. et al., Differences in switching
                                                          away from cigarettes and JUUL use characteristics
                                                          among adult menthol and nonmenthol smokers who
                                                          purchased the JUUL System




                                                                                                                                13 of 13                                                     4/8/2022
